                                          UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF ARIZONA

                                                         Minute Entry
Hearing Information:
                         Debtor:     EPICENTER PARTNERS L.L.C.
                  Case Number:       2:16-BK-05493-MCW           Chapter: 11

          Date / Time / Room:        TUESDAY, DECEMBER 03, 2019 10:00 AM 7TH FLOOR #702

         Bankruptcy Judge:           MADELEINE C. WANSLEE
               Courtroom Clerk:      CHRISTINA JOHNSON
                Reporter / ECR:      MICHELLE RADICKE-STEVENSON                                                         0.00


Matter:
              CONTINUED POST CONFIRMATION STATUS HEARING
              R / M #:   1,006 / 0


Appearances:

        STUART RODGERS, ATTORNEY FOR LIQUIDATING TRUSTEE
        MICHAEL W. MCGRATH (T), ATTORNEY FOR EPICENTER PARTNERS L.L.C.
        MICHAEL MAZZELLA, ATTORNEY FOR CPF VASEO ASSOCIATES, LLC

Proceedings:                                                                                                     1.00

        Mr. Rodgers stated his position noting the liquidating trustee and the July liquidating trust sent out
        the distribution report to the beneficiaries. There is a 60-day objection period and once that
        passes, the liquidating trustee will distribute the excess funds to the debtor, submit tax returns,
        and file a motion to discharge the liquidating trustee. Mr. Rodgers stated that the May liquidating
        trust is only a few weeks behind the July liquidating trust. He discussed the status of pending
        appeals noting the appeal does not effect the distribution of the May liquidating trust. Mr. Rodgers
        requested a continuance in four to six months to allow final steps to be completed.

        Mr. McGrath stated his position and he does not disagree with Mr. Rodgers such that any of the
        pending appeals don't require the participation of the liquidating trustee.

        Discussion ensues regarding the 60-day expiration and the notice of distribution filed thereafter.

        Mr. Rodgers stated the May distribution report to beneficiaries will be likely be issued within the
        next couple of weeks. He advised the court that the report for the July debtor was sent out
        December 2nd.

        Mr. Mazzella discussed the status of pending appeals. He advised the court that funds were
        distributed to his client in error, but will be returned to the trustee.

        Mr. Rodgers confirmed the funds that were sent in error, as discussed by Mr. Mazzella, have
        already been returned.

        COURT: IT IS ORDERED CONTINUING THIS HEARING TO APRIL 21, 2020 AT 10:00 AM.



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